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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
___________________________________
                                     )
BENJAMIN WITTES,                     )    Civil Action No. 1:17-cv-01627-RC
                                     )
            Plaintiff,               )
                                     )
      v.                             )
                                     )
U.S. DEPARTMENT OF JUSTICE and       )
OFFICE OF MANAGEMENT AND             )
BUDGET,                              )
                                     )
            Defendants.              )
___________________________________ )

                           MOTION FOR A STAY OF DEADLINES
                         IN LIGHT OF LAPSE OF APPROPRIATIONS

          The United States of America hereby moves for a stay of the parties’ January 4, 2019

deadline to file a Joint Status Report in the above-captioned case.

          1.      At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The

Department does not know when funding will be restored by Congress.

       2.         Absent an appropriation, Department of Justice attorneys are prohibited from

working, even on a voluntary basis, except in very limited circumstances, including

“emergencies involving the safety of human life or the protection of property.” 31 U.S.C.

§ 1342.

       3.         Undersigned counsel for the Department of Justice therefore requests a stay of the

parties’ January 4, 2019 deadline to file a Joint Status Report until Congress has restored

appropriations to the Department.
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        4.      If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department. The Government requests that, at

that point, all current deadlines for the parties be extended commensurate with the duration of the

lapse in appropriations.

        5.      In accordance with Local Rule 7(m), counsel for Defendants conferred with

counsel for Plaintiff prior to filing this motion. Plaintiff consents to the requested relief.

        Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of the January 4, 2019 deadline to file a joint

status report in this case until Department of Justice attorneys are permitted to resume their usual

civil litigation functions.

Dated: December 26, 2018                               Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       ELIZABETH J. SHAPIRO
                                                       Deputy Branch Director

                                                       /s/ Chetan A. Patil  ___________
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                                                       Attorneys for Defendants
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                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                     )
BENJAMIN WITTES,                    ) Civil Action No. 1:17-cv-01627-RC
                                    )
            Plaintiff,              )
                                    )
      v.                            )
                                    )
U.S. DEPARTMENT OF JUSTICE and      )
OFFICE OF MANAGEMENT AND            )
BUDGET                              )
                                    )
            Defendants.             )
___________________________________ )


                                         ORDER

       On the basis of Defendants’ Motion for a Stay of Deadlines in Light of Lapse of

Appropriations, it is ORDERERD that Defendants’ motion is GRANTED, and that the

parties’ January 4, 2019 deadline to file a Joint Status Report is stayed and extended

commensurate with the duration of the lapse in appropriations.

       So ORDERED this ____ day of December 2018.



                                                     ______________________
                                                     Honorable Rudolph Contreras
                                                     United States District Judge
